         Case 21-30526                Doc 3          Filed 09/18/21 Entered 09/18/21 16:00:35                                     Desc Ch 7 First
                                                      Mtg Corp No POC Page 1 of 1

Information to identify the case:
Debtor
                Getchell Development Co.                                                        EIN:   26−1576943
                Name

United States Bankruptcy Court       Western District of North Carolina                          Date case filed for chapter:         7      9/17/21

Case number:21−30526
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Getchell Development Co.

2. All other names used in the
   last 8 years
3. Address                                   400 Gilead Road #1965
                                             Huntersville, NC 28078

4. Debtor's attorney                         Jeffrey G. Dalrymple P.A.                                            Contact phone (704) 847−7151
                                             Jeffrey G. Dalrymple, PA
    Name and address                         2435 Plantation Center Drive                                         Email:
                                             Suite 205                                                            jdalrymple@matthewsattorneys.com
                                             Matthews, NC 28105

5. Bankruptcy trustee                        A. Burton Shuford                                                    Contact phone 980−321−7001
                                             4700 Lebanon Road,
    Name and address                         Suite #A−2                                                           Email: bshuford@abshuford.com
                                             Mint Hill, NC 28227

6. Bankruptcy clerk's office                 401 West Trade Street                                                Hours open:
                                             Charlotte, NC 28202                                                  8:30 am − 4:30 pm
    Documents in this case may be
    filed at this address. You may
    inspect all records filed in this case                                                                        Contact phone 704−350−7500
    at this office or online at
    pacer.uscourts.gov.                                                                                           Date: 9/18/21

7. Meeting of creditors                                                                                        Location:
    The debtor's representative must
                                             October 20, 2021 at 10:00 AM
    attend the meeting to be                                                                                   U.S. Bankruptcy Administrators Office,
    questioned under oath. Creditors         The meeting may be continued or adjourned to a later date.        402 West Trade Street, Suite 205,
    may attend, but are not required to      If so, the date will be on the court docket.                      Charlotte, NC 28202
    do so.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 1
